                                                                   EXHIBIT
                Case 4:22-cv-03081 Document 1-2 Filed on 09/09/22 in TXSD Page 1 of 17
                                          Harris County Docket Sheet
                                                                        B
2022-48884
COURT: 269th
FILED DATE: 8/10/2022
CASE TYPE: Other Injury or Damage

                                         JOHNSON, JOHN
                                   Attorney: WOOD, COLIN GERALD ORION

                                                   vs.
                                   NOBLE DRILLING (U S) LLC


                                           Docket Sheet Entries
             Date        Comment




2022-48884                                                                             Page 1 of 1

269                                                                           9/9/2022 12:26:13 PM
Case 4:22-cv-03081 Document 1-2 Filed on 09/09/22 in TXSD Page 2 of 17              9/8/2022 8:36 AM
                                                        Marilyn Burgess - District Clerk Harris County
                                                                             Envelope No. 68048253
                                                                                    By: taujhnae travis
                                                                             Filed: 9/8/2022 8:36 AM
       Case 4:22-cv-03081 Document 1-2 Filed on 09/09/22 in TXSD Page 3 of 17                                            9/7/2022 8:09 AM
                                                                                             Marilyn Burgess - District Clerk Harris County
                                                                                                                  Envelope No. 68002598
                                                                                                                         By: taujhnae travis
                                                                                                                  Filed: 9/7/2022 8:09 AM


                                       CAUSE NUMBER: 2022-48884
 JOHN JOHNSON
 PLAINTIFF
                                                          IN THE 269TH JUDICIAL DISTRICT
 VS.
                                                          COURT OF HARRIS COUNTY, TEXAS
 NOBLE DRILLING (U.S.), LLC, ET AL
 DEFENDANT
                               RETURN OF SERVICE
My name is D'ANN WATHEN. I am over the age of eighteen (18), I am not a party to this case, and have no
interest in its outcome. I am in all ways competent to make this affidavit and this affidavit is based on personal
knowledge. The facts stated herein are true and correct. My business address is: 1320 QUITMAN ST. STE
100, HOUSTON, HARRIS COUNTY, TX 77009, U.S.A.
ON Friday August 26, 2022 AT 01:48 PM - CITATION, PLAINTIFF'S ORIGINAL PETITION
AND REQUEST FOR DISCLOSURE came to hand for service upon NOBLE DRILLING (US) LLC (A
DOMESTIC CORPORATION) BY SERVING ITS REGISTERED AGENT, CT CORPORATION
SYSTEM.
On Thursday September 01, 2022 at 02:19 PM - The above named documents were hand delivered to:
NOBLE DRILLING (US) LLC (A DOMESTIC CORPORATION) BY SERVING ITS
REGISTERED AGENT, CT CORPORATION SYSTEM @ 1999 BRYAN STREET, SUITE 900,
DALLAS, TX 75201, in Person. By delivering to Tierica Williams, designated agent.
FURTHER AFFIANT SAYETH NOT.

STATE OF TEXAS                                   DECLARATION
"My name is D'ANN WATHEN, my date of birth is 12/21/1971 my business address is 1320 QUITMAN STREET,
HOUSTON, TX 77009, and I declare under penalty of perjury that this affidavit is true and correct."
Executed in Harris County, State of Texas on Friday September 02, 2022


/s/D'ANN WATHEN                               PSC#6602 EXP. 06/30/23
Declarant                                          Appointed in accordance with State Statutes

                                                           2022.08.679818
       Case 4:22-cv-03081 Document 1-2 Filed on 09/09/22 in TXSD Page 4 of 17                                            9/4/2022 4:28 PM
                                                                                             Marilyn Burgess - District Clerk Harris County
                                                                                                                  Envelope No. 67952019
                                                                                                                         By: taujhnae travis
                                                                                                                 Filed: 9/6/2022 12:00 AM


                                       CAUSE NUMBER: 2022-48884
 JOHN JOHNSON
 PLAINTIFF
                                                          IN THE 269TH JUDICIAL DISTRICT
 VS.
                                                          COURT OF HARRIS COUNTY, TEXAS
 NOBLE DRILLING (U.S.), LLC, ET AL
 DEFENDANT
                               RETURN OF SERVICE
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100, HOUSTON, HARRIS COUNTY, TX 77009, U.S.A.
ON Friday August 26, 2022 AT 01:48 PM - CITATION, PLAINTIFF'S ORIGINAL PETITION
AND REQUEST FOR DISCLOSURE came to hand for service upon SHELL OIL COMPANY (A
DELAWARE COMPANY) BY SERVING ITS REGISTERED AGENT, CT CORPORATION
SYSTEM.
On Thursday September 01, 2022 at 02:19 PM - The above named documents were hand delivered to:
SHELL OIL COMPANY (A DELAWARE COMPANY) BY SERVING ITS REGISTERED AGENT,
CT CORPORATION SYSTEM @ 1999 BRYAN STREET, SUITE 900, DALLAS, TX 75201, in
Person. By delivering to Tierica Williams, designated agent.
FURTHER AFFIANT SAYETH NOT.

STATE OF TEXAS                                   DECLARATION
"My name is D'ANN WATHEN, my date of birth is 12/21/1971 my business address is 1320 QUITMAN STREET,
HOUSTON, TX 77009, and I declare under penalty of perjury that this affidavit is true and correct."
Executed in Harris County, State of Texas on Friday September 02, 2022


/s/D'ANN WATHEN                               PSC#6602 EXP. 06/30/23
Declarant                                          Appointed in accordance with State Statutes

                                                           2022.08.679809
       Case 4:22-cv-03081 Document 1-2 Filed on 09/09/22 in TXSD Page 5 of 17                                            9/4/2022 4:29 PM
                                                                                             Marilyn Burgess - District Clerk Harris County
                                                                                                                  Envelope No. 67952024
                                                                                                                         By: taujhnae travis
                                                                                                                 Filed: 9/6/2022 12:00 AM


                                       CAUSE NUMBER: 2022-48884
 JOHN JOHNSON
 PLAINTIFF
                                                          IN THE 269TH JUDICIAL DISTRICT
 VS.
                                                          COURT OF HARRIS COUNTY, TEXAS
 NOBLE DRILLING (U.S.), LLC, ET AL
 DEFENDANT
                               RETURN OF SERVICE
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100, HOUSTON, HARRIS COUNTY, TX 77009, U.S.A.
ON Friday August 26, 2022 AT 01:48 PM - CITATION, PLAINTIFF'S ORIGINAL PETITION
AND REQUEST FOR DISCLOSURE came to hand for service upon NOBLE DRILLING SERVICES
INC (A DOMESTIC CORPORATION) BY SERVING ITS REGISTERED AGENT, CT
CORPORATION SYSTEM.
On Thursday September 01, 2022 at 02:19 PM - The above named documents were hand delivered to:
NOBLE DRILLING SERVICES INC (A DOMESTIC CORPORATION) BY SERVING ITS
REGISTERED AGENT, CT CORPORATION SYSTEM @ 1999 BRYAN STREET, SUITE 900,
DALLAS, TX 75201, in Person. By delivering to Tierica Williams, designated agent.
FURTHER AFFIANT SAYETH NOT.

STATE OF TEXAS                                   DECLARATION
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HOUSTON, TX 77009, and I declare under penalty of perjury that this affidavit is true and correct."
Executed in Harris County, State of Texas on Friday September 02, 2022


/s/D'ANN WATHEN                               PSC#6602 EXP. 06/30/23
Declarant                                          Appointed in accordance with State Statutes

                                                           2022.08.679815
       Case 4:22-cv-03081 Document 1-2 Filed on 09/09/22 in TXSD Page 6 of 17                                            9/4/2022 4:31 PM
                                                                                             Marilyn Burgess - District Clerk Harris County
                                                                                                                  Envelope No. 67952028
                                                                                                                         By: taujhnae travis
                                                                                                                 Filed: 9/6/2022 12:00 AM


                                       CAUSE NUMBER: 2022-48884
 JOHN JOHNSON
 PLAINTIFF
                                                          IN THE 269TH JUDICIAL DISTRICT
 VS.
                                                          COURT OF HARRIS COUNTY, TEXAS
 NOBLE DRILLING (U.S.), LLC, ET AL
 DEFENDANT
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100, HOUSTON, HARRIS COUNTY, TX 77009, U.S.A.
ON Friday August 26, 2022 AT 01:48 PM - CITATION CORPORATE, PLAINTIFF'S ORIGINAL
PETITION AND REQUEST FOR DISCLOSURE came to hand for service upon NOBLE
CORPORATION (A DOMESTIC CORPORATION) BY SERVING ITS REGISTERED AGENT,
CT CORPORATION SYSTEM.
On Thursday September 01, 2022 at 02:19 PM - The above named documents were hand delivered to:
NOBLE CORPORATION (A DOMESTIC CORPORATION) BY SERVING ITS REGISTERED
AGENT, CT CORPORATION SYSTEM @ 1999 BRYAN STREET, SUITE 900, DALLAS, TX
75201, in Person. By delivering to Tierica Williams, designated agent.
FURTHER AFFIANT SAYETH NOT.

STATE OF TEXAS                                   DECLARATION
"My name is D'ANN WATHEN, my date of birth is 12/21/1971 my business address is 1320 QUITMAN STREET,
HOUSTON, TX 77009, and I declare under penalty of perjury that this affidavit is true and correct."
Executed in Harris County, State of Texas on Friday September 02, 2022


/s/D'ANN WATHEN                               PSC#6602 EXP. 06/30/23
Declarant                                          Appointed in accordance with State Statutes

                                                           2022.08.679827
       Case 4:22-cv-03081 Document 1-2 Filed on 09/09/22 in TXSD Page 7 of 17                                            9/4/2022 4:23 PM
                                                                                             Marilyn Burgess - District Clerk Harris County
                                                                                                                  Envelope No. 67952012
                                                                                                                         By: taujhnae travis
                                                                                                                 Filed: 9/6/2022 12:00 AM


                                       CAUSE NUMBER: 2022-48884
 JOHN JOHNSON
 PLAINTIFF
                                                          IN THE 269TH JUDICIAL DISTRICT
 VS.
                                                          COURT OF HARRIS COUNTY, TEXAS
 NOBLE DRILLING (U.S.), LLC, ET AL
 DEFENDANT
                               RETURN OF SERVICE
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100, HOUSTON, HARRIS COUNTY, TX 77009, U.S.A.
ON Friday August 26, 2022 AT 01:48 PM - CITATION, PLAINTIFF'S ORIGINAL PETITION
AND REQUEST FOR DISCLOSURE came to hand for service upon SHELL OFFSHORE, INC. (A
DELAWARE COMPANY) BY SERVING ITS REGISTERED AGENT, CT CORPORATION
SYSTEM.
On Friday September 02, 2022 at 02:19 PM - The above named documents were hand delivered to:
SHELL OFFSHORE, INC. (A DELAWARE COMPANY) BY SERVING ITS REGISTERED
AGENT, CT CORPORATION SYSTEM @ 1999 BRYAN STREET, SUITE 900, DALLAS, TX
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FURTHER AFFIANT SAYETH NOT.

STATE OF TEXAS                                   DECLARATION
"My name is D'ANN WATHEN, my date of birth is 12/21/1971 my business address is 1320 QUITMAN STREET,
HOUSTON, TX 77009, and I declare under penalty of perjury that this affidavit is true and correct."
Executed in Harris County, State of Texas on Friday September 02, 2022


/s/D'ANN WATHEN                               PSC#6602 EXP. 06/30/23
Declarant                                          Appointed in accordance with State Statutes

                                                           2022.08.679812
                                                     Case 4:22-cv-03081 Document 1-2 Filed on 09/09/22 in TXSD Page 8 of 17

                                                                      2022-48884 / Court: 269
CertifiedDocumentNumber:103434754-Page1of9
CertifiedDocumentNumber:103434754-Page2of9   Case 4:22-cv-03081 Document 1-2 Filed on 09/09/22 in TXSD Page 9 of 17
CertifiedDocumentNumber:103434754-Page3of9   Case 4:22-cv-03081 Document 1-2 Filed on 09/09/22 in TXSD Page 10 of 17
CertifiedDocumentNumber:103434754-Page4of9   Case 4:22-cv-03081 Document 1-2 Filed on 09/09/22 in TXSD Page 11 of 17
CertifiedDocumentNumber:103434754-Page5of9   Case 4:22-cv-03081 Document 1-2 Filed on 09/09/22 in TXSD Page 12 of 17
CertifiedDocumentNumber:103434754-Page6of9   Case 4:22-cv-03081 Document 1-2 Filed on 09/09/22 in TXSD Page 13 of 17
CertifiedDocumentNumber:103434754-Page7of9   Case 4:22-cv-03081 Document 1-2 Filed on 09/09/22 in TXSD Page 14 of 17
CertifiedDocumentNumber:103434754-Page8of9   Case 4:22-cv-03081 Document 1-2 Filed on 09/09/22 in TXSD Page 15 of 17
CertifiedDocumentNumber:103434754-Page9of9   Case 4:22-cv-03081 Document 1-2 Filed on 09/09/22 in TXSD Page 16 of 17
              Case 4:22-cv-03081 Document 1-2 Filed on 09/09/22 in TXSD Page 17 of 17




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this September 7, 2022


     Certified Document Number:        103434754 Total Pages: 9




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




In accordance with Texas Government Code 406.013 electronically transmitted authenticated
documents are valid. If there is a question regarding the validity of this document and or seal
please e-mail support@hcdistrictclerk.com
